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 1                                   UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3
 4       United States of America,                           Case No.: 2:17-cr-00160-JAD-VCF
 5               Plaintiff                                     Order Adopting Report and
                                                          Recommendation and Denying Motion to
 6       v.                                                            Dismiss
 7       Deandre Nakita Brown,                                      [ECF Nos. 187, 204]
 8               Defendant
 9              Deandre Brown has been charged with three crimes: (1) interference with commerce by
10 robbery under 18 U.S.C. § 1951; (2) use of a firearm during and in relation to a crime of violence
11 under 18 U.S.C. § 924(c)(1)(A)(ii); and (3) conspiracy to interfere with commerce by robbery in
12 violation of 18 U.S.C. § 1951.1 A crime of violence is a felony that “(A) has as an element the
13 use, attempted use, or threated use of physical force against the person or property of another, or
14 (B) that by its nature, involves a substantial risk that physical force against the person or property
15 of another may be used in the course of committing the offense.”2 Brown moves to dismiss his
16 indictment, arguing that clause B in the crime-of-violence definition is unconstitutionally vague
17 and that Hobbs Act robbery does not qualify under the force clause either.3
18              Magistrate Judge Ferenbach reviewed Brown’s dismissal motion, and he recommends
19 that I deny it because the Hobbs Act robbery that Brown is charged with qualifies as a crime of
20 violence under the force clause, and the Ninth Circuit has expressly rejected the arguments that
21 Brown offers to challenge that clause.4 Judge Ferenbach issued his recommendation on July 3,
22 2018, making July 17, 2018, the deadline to file objections. That deadline has now expired, and
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25       ECF No. 109.
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26       18 U.S.C. § 924(c)(3).
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27       ECF No. 187 at 3–4.
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28       ECF No. 204 at 3.

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 1 Brown has not objected. “[N]o review is required of a magistrate judge’s report and
 2 recommendation unless objections are filed.”5
 3         Accordingly, with good cause appearing and no reason to delay, IT IS HEREBY
 4 ORDERED that Magistrate Judge Ferenbach’s report and recommendation [ECF No. 204] is
 5 ACCEPTED and ADOPTED, and Brown’s motion to dismiss his indictment [ECF No. 187] is
 6 DENIED.
 7         Dated: July 19, 2018
 8                                                           _______________________________
                                                             U.S. District Judge Jennifer A. Dorsey
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27 5 Schmidt v. Johnstone, 263 F. Supp. 2d 1219, 1226 (D. Ariz. 2003); see also United States v.
28 Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

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